       Case 1:19-cv-01404-DAD-JLT Document 30 Filed 02/21/20 Page 1 of 7


1
2
3
4
5
6
7
8                        UNITED STATES DISTRICT COURT
9                          EASTERN DISTRICT OF CALIFORNIA
10
11   SEBASTIANA MARTINEZ-SANCHEZ, et     )       Case No.: 1:19-CV-01404-DAD-JLT
     al.,                                )
12             Plaintiffs,               )       SCHEDULING ORDER (Fed. R. Civ. P. 16)
13                                       )
          v.                             )       Pleading Amendment Deadline: 7/20/2020
14   ANTHONY VINEYARDS, INC., et al.,    )
                                         )       Discovery Deadlines:
15              Defendants.              )             Initial Disclosures: 3/20/2020
                                         )             Non-Expert: 11/30/2020
16
                                         )             Expert: 4/16/2021
17                                                     Mid-Discovery Status Conference:
                                                       6/29/2020 at 8:30 a.m.
18
                                                 Non-Dispositive Motion Deadlines:
19                                                     Filing: 4/30/2021
20                                                     Hearing: 6/1/2021

21                                               Class Certification Motion Deadlines:
                                                        Filing: 4/30/2021
22                                                      Opposition: 6/30/2021
23                                                      Reply: 7/30/2021
                                                        Hearing: 8/16/2021
24
                                                 Dispositive Motion Deadlines:
25                                                      Filing: 10/22/2021
                                                        Hearing: 12/7/2021
26
27                                               Settlement Conference:
                                                        1/11/2022 at 10:30 a.m., Fresno, CA
28
                                                 Pre-Trial Conference:
                                                        3/21/2022 at 1:30 p.m., Courtroom 5
                                             1
           Case 1:19-cv-01404-DAD-JLT Document 30 Filed 02/21/20 Page 2 of 7


1    I.       Date of Scheduling Conference

2             February 19, 2020.

3    II.      Appearances of Counsel

4             Eric Trabucco, Dawson Morton appeared on behalf of Plaintiffs.

5             Kaleb Judy appeared on behalf of Defendants.

6    III.     Pleading Amendment Deadline

7             Any requested pleading amendments are ordered to be filed, either through a stipulation or

8    motion to amend, no later than July 20, 2020. Any motion to amend the pleadings shall be heard by

9    the Honorable Dale A. Drozd, United States District Court Judge.

10   IV.      Discovery Plan and Cut-Off Date

11            The parties reported they have completed their the initial disclosures required by Fed. R. Civ. P.

12   26(a)(1). They are reminded of their ongoing obligation to amend these disclosures as needed.

13            The parties are ordered to complete all discovery pertaining to non-experts on or before

14   November 30, 2020 and all discovery pertaining to experts on or before April 16, 2021.

15            The parties are directed to disclose all expert witnesses, in writing, on or before January 29,

16   2021, and to disclose all rebuttal experts on or before February 26, 2021. The written designation of

17   retained and non-retained experts shall be made pursuant to Fed. R. Civ. P. Rule 26(a)(2), (A), (B),

18   and (C) and shall include all information required thereunder. Failure to designate experts in

19   compliance with this order may result in the Court excluding the testimony or other evidence offered

20   through such experts that are not disclosed pursuant to this order.

21            The provisions of Fed. R. Civ. P. 26(b)(4) and (5) shall apply to all discovery relating to experts

22   and their opinions. Experts must be fully prepared to be examined on all subjects and opinions

23   included in the designation. Failure to comply will result in the imposition of sanctions, which may

24   include striking the expert designation and preclusion of expert testimony.

25            The provisions of Fed. R. Civ. P. 26(e) regarding a party's duty to timely supplement

26   disclosures and responses to discovery requests will be strictly enforced.

27            A mid-discovery status conference is scheduled for June 29, 2020 at 8:30 a.m. before the

28   Honorable Jennifer L. Thurston, U.S. Magistrate Judge, located at 510 19th Street, Bakersfield,


                                                        2
          Case 1:19-cv-01404-DAD-JLT Document 30 Filed 02/21/20 Page 3 of 7


1    California. Counsel SHALL file a joint mid-discovery status conference report one week before the

2    conference. Counsel also SHALL lodge the status report via e-mail to JLTorders@caed.uscourts.gov.

3    The joint statement SHALL outline the discovery counsel have completed and that which needs to be

4    completed as well as any impediments to completing the discovery within the deadlines set forth in this

5    order. Counsel may appear via teleconference by dialing (888) 557-8511 and entering Access Code

6    1652736, provided the Magistrate Judge's Courtroom Deputy Clerk receives a written notice of the

7    intent to appear telephonically no later than five court days before the noticed hearing date.

8    V.      Pre-Trial Motion Schedule

9            All non-dispositive pre-trial motions, including any discovery motions, shall be filed no later

10   than April 30, 20211 and heard on or before June 1, 2021. All discovery motions, motions for

11   appointment of guardians ad litem, motions to approve minors’ compromises, motions for class

12   certification or decertification and preliminary and final approval of collective or class action

13   settlements are heard by the Magistrate Judge Jennifer L. Thurston, United States Magistrate Judge at

14   the United States Courthouse in Bakersfield, California. For these hearings, counsel may appear via

15   teleconference by dialing (888) 557-8511 and entering Access Code 1652736, provided the Magistrate

16   Judge's Courtroom Deputy Clerk receives a written notice of the intent to appear telephonically no later

17   than five court days before the noticed hearing date. Other non-dispositive hearings SHALL be set

18   before Judge Drozd.

19           No motion to amend or stipulation to amend the case schedule will be entertained unless it

20   is filed at least one week before the first deadline the parties wish to extend. Likewise, no written

21   discovery motions shall be filed without the prior approval of the assigned Magistrate Judge. A party

22   with a discovery dispute must first confer with the opposing party in a good faith effort to resolve by

23   agreement the issues in dispute. If that good faith effort is unsuccessful, the moving party promptly

24   shall seek a telephonic hearing with all involved parties and the Magistrate Judge. It shall be the

25   obligation of the moving party to arrange and originate the conference call to the court. To schedule

26   this telephonic hearing, the parties are ordered to contact the Courtroom Deputy Clerk, Susan Hall, at

27
28             1
                 Non-dispositive motions related to non-expert discovery SHALL be filed within a reasonable time of discovery
     of the dispute, but not later than 30 days after the expiration of the non-expert discovery deadline.

                                                              3
        Case 1:19-cv-01404-DAD-JLT Document 30 Filed 02/21/20 Page 4 of 7


1    (661) 326-6620 or via email at SHall@caed.uscourts.gov. Counsel must comply with Local Rule 251

2    with respect to discovery disputes or the motion will be denied without prejudice and dropped

3    from the Court’s calendar.

4           All dispositive pre-trial motions shall be filed no later than October 22, 2021 and heard no later

5    than December 7, 2021, in Courtroom 5 at 9:30 a.m. before the Honorable Dale A. Drozd, United

6    States District Court Judge. In scheduling such motions, counsel shall comply with Fed. R. Civ. P. 56

7    and Local Rules 230 and 260.

8    VI.    Class Certification Motion Schedule

9           The motion for class certification, shall be filed no later than April 30, 2020. The opposition

10   shall be filed no later June 30, 2020 and the reply by July 30, 2020. The hearing will be no later than

11   August 16, 2020. If the plaintiffs file the motion sooner, the intervals for opposing and reply briefs set

12   forth shall be preserved.

13   VII.   Motions for Summary Judgment or Summary Adjudication

14          At least 21 days before filing a motion for summary judgment or motion for summary

15   adjudication, the parties are ORDERED to meet, in person or by telephone, to confer about the issues

16   to be raised in the motion.

17          The purpose of the meeting shall be to: 1) avoid filing motions for summary judgment where a

18   question of fact exists; 2) determine whether the respondent agrees that the motion has merit in whole

19   or in part; 3) discuss whether issues can be resolved without the necessity of briefing; 4) narrow the

20   issues for review by the court; 5) explore the possibility of settlement before the parties incur the

21   expense of briefing a motion; and 6) to develop a joint statement of undisputed facts.

22          The moving party SHALL initiate the meeting and SHALL provide a complete, proposed

23   statement of undisputed facts at least five days before the conference. The finalized joint statement of

24   undisputed facts SHALL include all facts that the parties agree, for purposes of the motion, may be

25   deemed true. In addition to the requirements of Local Rule 260, the moving party shall file the joint

26   statement of undisputed facts.

27          In the notice of motion the moving party SHALL certify that the parties have met and conferred

28   as ordered above, or set forth a statement of good cause for the failure to meet and confer. Failure to


                                                        4
         Case 1:19-cv-01404-DAD-JLT Document 30 Filed 02/21/20 Page 5 of 7


1    comply may result in the motion being stricken.

2    VIII. Pre-Trial Conference Date

3             March 21, 2022 at 1:30 p.m. in Courtroom 5 before Judge Drozd.

4             The parties are ordered to file a Joint Pretrial Statement pursuant to Local Rule 281(a)(2).

5    The parties are further directed to submit a digital copy of their pretrial statement in Word format,

6    directly to Judge Drozd's chambers, by email at DADorders@caed.uscourts.gov.

7             Counsels' attention is directed to Rules 281 and 282 of the Local Rules of Practice for the

8    Eastern District of California, as to the obligations of counsel in preparing for the pre-trial conference.

9    The Court will insist upon strict compliance with those rules. In addition to the matters set forth in the

10   Local Rules the Joint Pretrial Statement shall include a Joint Statement of the case to be used by the

11   Court to explain the nature of the case to the jury during voir dire.

12   IX.      Settlement Conference

13            A settlement conference is scheduled for January 11, 2022 at 10:30 a.m., before the Honorable

14   Stanley A. Boone, located at the Robert E. Coyle Federal Courthouse at 2500 Tulare Street, Fresno,

15   California.

16            Unless otherwise permitted in advance by the Court, the attorneys who will try the case

17   shall appear at the Settlement Conference with the parties and the person or persons having full

18   authority to negotiate and settle the case on any reasonable terms2discussed at the conference.

19   Consideration of settlement is a serious matter that requires preparation prior to the settlement

20   conference. Set forth below are the procedures the Court will employ, absent good cause, in

21   conducting the conference.

22            At least 21 days before the settlement conference, Plaintiff SHALL submit to Defendant via

23   fax or e-mail, a written itemization of damages and a meaningful3 settlement demand which includes a

24   brief explanation of why such a settlement is appropriate. Thereafter, no later than 14 days before the

25
              2
26              Insurance carriers, business organizations, and governmental bodies or agencies whose settlement agreements
     are subject to approval by legislative bodies, executive committees, boards of directors or the like may be represented by
     a person whose recommendations about settlement are relied upon by the ultimate decision makers.
27            3
                “Meaningful” means the offer is reasonably calculated to settle the case on terms acceptable to the offering
     party. “Meaningful” does not include an offer which the offering party knows will not be acceptable to the other party.
28   If, however, the offering party is only willing to offer a settlement which it knows the other party will not accept, this
     should trigger a recognition the case is not in a settlement posture and the parties should confer about continuing the
     settlement conference via stipulation.

                                                                5
          Case 1:19-cv-01404-DAD-JLT Document 30 Filed 02/21/20 Page 6 of 7


1    settlement conference, Defendant SHALL respond via fax or e-mail, with an acceptance of the offer or

2    with a meaningful counteroffer, which includes a brief explanation of why such a settlement is

3    appropriate. The parties SHALL continue to exchange counteroffers until it is no longer

4    productive.

5             If settlement is not achieved, each party SHALL attach copies of their settlement offers to

6    their Confidential Settlement Conference Statement, as described below. Copies of these documents

7    shall not be filed on the court docket.

8                     CONFIDENTIAL SETTLEMENT CONFERENCE STATEMENT

9             At least five court days before the settlement conference, the parties shall submit, directly to

10   Judge Thurston's chambers by e-mail to SABOrders@caed.uscourts.gov, a Confidential Settlement

11   Conference Statement. The statement should not be filed with the Clerk of the Court nor served on

12   any other party, although the parties may file a Notice of Lodging of Settlement Conference

13   Statement. Each statement shall be clearly marked "confidential" with the date and time of the

14   Settlement Conference indicated prominently thereon.

15            The Confidential Settlement Conference Statement shall include the following:

16            A.     A brief statement of the facts of the case.

17            B.     A brief statement of the claims and defenses, i.e., statutory or other grounds upon

18                   which the claims are founded; a forthright evaluation of the parties' likelihood of

19                   prevailing on the claims and defenses; and a description of the major issues in dispute.

20            C.     A summary of the proceedings to date.

21            D.     An estimate of the cost and time to be expended for further discovery, pretrial and

22   trial.

23            E.     The relief sought.

24            F.     The party's position on settlement, including present demands and offers and a history

25                   of past settlement discussions, offers and demands.

26   X.       Request for Bifurcation, Appointment of Special Master, or other Techniques to Shorten

27   Trial

28            Not applicable at this time.


                                                        6
        Case 1:19-cv-01404-DAD-JLT Document 30 Filed 02/21/20 Page 7 of 7


1    XI.      Related Matters Pending

2             There are no pending related matters.

3    XII.     Compliance with Federal Procedure

4             All counsel SHALL familiarize themselves with the Federal Rules of Civil Procedure and the

5    Local Rules of Practice of the Eastern District of California, and to keep abreast of any amendments

6    thereto. The Court must insist upon compliance with these Rules if it is to efficiently handle its

7    increasing case load and sanctions will be imposed for failure to follow both the Federal Rules of Civil

8    Procedure and the Local Rules of Practice for the Eastern District of California.

9    XIII. Effect of this Order

10            The foregoing order represents the best estimate of the court and counsel as to the agenda most

11   suitable to dispose of this case. The trial date reserved is specifically reserved for this case. If the

12   parties determine at any time that the schedule outlined in this order cannot be met, counsel are ordered

13   to notify the court immediately of that fact so that adjustments may be made, either by stipulation or by

14   subsequent status conference.

15            The dates set in this order are firm and will not be modified absent a showing of good

16   cause even if the request to modify is made by stipulation. Stipulations extending the deadlines

17   contained herein will not be considered unless they are accompanied by affidavits or declarations,

18   and where appropriate attached exhibits, which establish good cause for granting the relief

19   requested.

20            Failure to comply with this order may result in the imposition of sanctions.

21
22   IT IS SO ORDERED.

23         Dated:   February 21, 2020                            /s/ Jennifer L. Thurston
24                                                       UNITED STATES MAGISTRATE JUDGE

25
26
27
28


                                                         7
